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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA

JANE DOE,                                    )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )       Civil Action Number: 1:23-cv-05578-MLB
                                             )
GEORGIA DEPARTMENT OF                        )
CORRECTIONS, ET AL.                          )
                                             )
       Defendants.                           )


      NOTICE OF FILING SUMMONS TO BE ISSUED BY THE CLERK OF COURT


       COMES NOW PLAINTIFF, by and through undersigned counsel and gives notice to the

Court that Plaintiff is filing the following Summons to be issued by the Clerk of Court.

 1                    Anthony Mulloy- GDC Central
 2                    Chad Lohman- GDC Central
 3                    Dr. Bowling- GDC Central
 4                    Ga. Department of Corrections
 5                    Randy Sauls- GDC Central
 6                    Sharon Lewis- GDC Central
 7                    Tyrone Oliver- GDC Central
 8                    Centurion Health
 9                    Chad Lohman- Centurion
 10                   Dr. Bowling- Centurion
 11                   Dr. Cleary- Centurion
 12                   Dr. Skibinski- Centurion
 13                   Dr. W. Ausborn- Centurion
 14                   Jeremy Lane- Centurion
 15                   MHM- Centurion
 16                   Rhonda Billings- Centurion
 17                   Sidney Moore- Centurion
 18                   DeShawn Jones -PSP
 19                   Dr. Cleary-PSP
 20                   Dr. Skibinski-PSP
 21                   Jamal Kinte Roberts-PSP
 22                   Jewellann Clarke-PSP

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23                 Latonya James-PSP
24                 Rhonda Billings-PSP
25                 Anthony Mulloy- Well Path
26                 Jewellann Clarke- Well Path
27                 Latonya James- Well Path
28                 Well Path

     Respectfully submitted, this 7th day of December, 2023.

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                                                           Attorneys for Plaintiff

                                                           * Motions for admission pro hac
                                                           vice to be filed

                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served on all

counsel of record and filed electronically with the Clerk of Court’s CM/ECF system.

       This 7th day of December, 2023.


                                             /s/ David J. Utter
                                             DAVID J. UTTER




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